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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE WESTERN DISTRICT OF TENNESSEE 05 B,P?i 25 QM [j; 11
WESTERN DIVISION
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l .J.D. OF l`N, NlE;`lleHlS
H. KEVIN INGRAM, on behalf of hlmself )
and all others similarly situated, )
)
Plaintiff, )
)

v. ) Case No. 04-271'7-D

)
EXXON MOBIL CORPORATION )
And SPENCER GIFTS, LLC, )
)
Defendants. )
)

 

ORDER DENYING AS MOOT THE MOTION OF DEFENDANTS TO DISMISS
(DOCKET ENTRY 4)

 

Before the Court is the September 10, 2004 motion of Exxon Mobil Corporation and Spencer
Gi fts, LLC, (“Defendants”) to dismiss the complaint of H. Kevin lngram (“P]aintiff”), filed on behalf
of himself and all others similarly situated. On February 7, 2005, the Magistrate lodge granted
Plaintiff leave to file an amended complaint Thereafter, on February 22, 2005, Defendants filed a
motion to dismiss the first amended complaint As such, the first motion to dismiss is rendered

moot. Accordingly, the Court denies the motion to dismiss as moot.

IT ls so 0RDERE1) thisy?§' day oprril, 2005.

BER ICE BO I DONALD
UNI`I`ED STATES DISTRICT JUDGE

 

   
 

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Honorable Bernice Donald
US DISTRICT COURT

